                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE

   United States of America ex rel, Lance Albertson
                   Plaintiff,
   V.                                                                  Case No. 3:23-cv-00289
   Agendia, Inc.
                   Defendant.


                            MOTION FOR ADMISSION PRO HAC VICE                                         AUG 1 '7 2023

          The undersigned, counsel for Lance Albertson                                         Clerk, U. S. District Court
                                                                                              Eastern District of Tennessee
                                                                                                      At f<noxville
   moves for admission to appear in this action pro hac vice.

          Pursuant to E.D. Tenn. LR. 83.S(b)(l)(C). FILING FEE= $90.00

          [l]      I am a member in good standing of the highest court of the following state,
                   territory or the District of Columbia (list ALL states):
                   Georgia
          [l]      AND I am a member in good standing of another U.S. District Court. A
                   certificate of good standing from the DISTRICT court is attached. ).

                                                     OR

          Pursuant to E.D. Tenn. LR. 83 .S(b)(l)(C). NO FILING FEE REQUIRED.

          D An application for my admission to practice in this Court is currently pending.
          I declare under penalty of perjury that the foregoing is true and correct.

                                                                            :::::--,,


                                            (Si~                 signed)
  Name: Ramsey B. Prather
  Firm: Butler Prather LLP
  Address:
            105 13th Street, P.O. Box 2766, Columbus, Georgia 31902


  Email address: ramsey@butlerprather.com

                 Once your motion is granted, you must register as an E-Filer with this Court. For
                                      instructions visit the Court's website.




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AO 136 (Rev. 9/98) Certificate of Good Standing



                                   UNITED STATES DISTRICT COURT

                                                  MIDDLE DISTRICT OF GEORGIA


                                        CERTIFICATE OF GOOD STANDING




                                  I, David W. Bunt, Clerk of this Court,

                certify that RAMSEY B. PRATHER, Bar No. 658395

                        was duly admitted to practice in this Court on

                            February 1, 2017, and is in good standing

                                as a member of the Bar of this Court.

                        Dated at Athens, Georgia on August 8, 2023.




                     David W. Bunt                                      s/ Gail G. Sellers
                        CLERK                                           DEPUTY CLERK




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                                                       U.S. District Court

                                                  Tennessee Eastern - Knoxville
                                                                                                            Receipt Date: Aug 17, 2023 2:22PM
Butler Prather, LLP
PO Box 2766
Columbus, GA 31902



 Rcpt. No: 300002263                                        Trans. Date : Aug 17, 2023 2:22PM                                  Cashier ID : #JR

 CD       Purpose                     Case/Party/Defendant                               Qty                      Price                   Amt

                                      DTNE323BB000001/001
 111      Pro Hae Vice                                                                    2                       90.00                180.00
                                      CLERK US DISTRICT COURT




 CD       Tender                                                                                                                          Amt

 CH       Check                          #10925                            08/16/2023                                                 $180.00

                                                                                 Total Due Prior to Payment:                          $180.00

                                                                                               Total Tendered:                        $180.00

                                                                                        Total Cash Received:                             $0.00

                                                                                        Cash Change Amount:                              $0.00

 Comments: Ramsey Prather Caroline Schley 3:23-cv-289



 Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
 will be charged for a returned check.




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